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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Vv. Case 1:19-cr-00018-ABJ
ROGER J. STONE, JR.

Defendant.
/

AMENDED MOTION FOR ADMISSION OF ROBERT BUSCHEL

Pursuant to Criminal Local Rule 44.1(c) & (d), Defendant Roger Stone moves for the
admission and appearance of attorney Robert C. Buschel pro hac vice in the above-entitled
action. This motion is supported by the Declaration of Robert Buschel, filed herewith. As set
forth in Mr. Buschel’s declaration, he is admitted and an active member in good standing the
following courts and bars: the Florida Bar, California Bar, Eleventh Circuit Court of Appeals, the
U.S. District Court for the Southern and Middle Districts of Florida. the U.S. District Court for
the Northern District of California, the U.S. District Court for the Central District of California.
This motion is supported and signed by L. Peter Farkas, Esq. an active and sponsoring member
of the Bar of this Court.

Dated this 29th day of January, 2019.

Respectfully submitted,
__/s/ L. Peter Farkas

L. Peter Farkas

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CERTIFICATE OF SERVICE
I hereby certify that on January 29, 2019, I electronically filed the foregoing with the
Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day
on all counsel of record or pro se parties identified on the attached service list in the manner
specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in
some other authorized manner for those counsel or parties who are not authorized to receive
electronically Notice of Electronic filing.

/s/ L. Peter Farkas
L. Peter Farkas
